              Case 1:24-cr-00524-JLR      Document 43     Filed 04/11/25    Page 1 of 1

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       April 11, 2025

       BY ECF
       Honorable Jennifer L. Rochon
       United States District Judge
        for the Southern District of New York
       500 Pearl Street, Room 1050
       New York, NY 10007-1312

       Re: United States v. Keith Taylor, 24 Cr. 524 (JLR)

       Hon. Rochon:

       One defense counsel in this matter was hospitalized on an emergent basis with a
       serious medical condition. The medical issue is serious and counsel is unable to meet
       the deadline set for defendant’s response to the government’s motions in limine as
       well as the deadline by which to note its trial exhibits and witness list. Because it is
       unclear if trial can proceed on May 12, 2025, we respectfully request the Court
       schedule a status conference in this matter. The government and I are available on
       April 14, 2025 or the following day, April 15, 2025.

       Respectfully submitted,

       /s/Sabrina P. Shroff
       Counsel to Keith Taylor
